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                                 No. 24-_____


          In the United States Court of Appeals
                  for the Fifth Circuit
                                ________________


In re Chamber of Commerce of the United States of America; Fort Worth Chamber
 of Commerce; Longview Chamber of Commerce; American Bankers Association;
         Consumer Bankers Association; Texas Association of Business,

                                                            Petitioners.

                              ________________

                  On Petition for a Writ of Mandamus to the
                      United States District Court for the
                Northern District of Texas, Fort Worth Division
                            No. 4:24-cv-00213-P
                             ________________

      EMERGENCY PETITION FOR WRIT OF MANDAMUS AND
            ADMINISTRATIVE STAY OF TRANSFER

     Philip Vickers                           Michael Murray
     Derek Carson                             Tor Tarantola
     CANTEY HANGER LLP                        PAUL HASTINGS LLP
     600 West 6th Street, Suite 300           2050 M Street, NW
     Fort Worth, TX 76102                     Washington, DC 20036
     (817) 877-2800                           (202) 551-1730

                                              Counsel for Petitioners

                                       (additional counsel listed on inside cover)
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Thomas Pinder                         Tara S. Morrissey
Andrew Doersam                        Maria C. Monaghan
AMERICAN BANKERS ASSOCIATION          U.S. CHAMBER LITIGATION CENTER
1333 New Hampshire Avenue, NW         1615 H Street, NW
Washington, DC 20036                  Washington, DC 20062
(202) 663-5028                        (202) 463-5337

Counsel for Petitioner American       Counsel for Petitioner Chamber of
Bankers Association                   Commerce of the United States of
                                      America
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                 CERTIFICATE OF INTERESTED PERSONS

      In re Chamber of Commerce of the United States of America et al.,

No. 24-_____

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

      1. Chamber of Commerce of the United States;

      2. Fort Worth Chamber of Commerce;

      3. Longview Chamber of Commerce;

      4. American Bankers Association;

      5. Consumer Bankers Association;

      6. Texas Association of Business;

      7. Consumer Financial Protection Bureau;

      8. Rohit Chopra, in his official capacity as Director of the Consumer

          Financial Protection Bureau;

      9. Paul Hastings LLP, counsel for Petitioners; and

      10.Cantey Hanger LLP, counsel for Petitioners.

                                         /s/ Michael Murray
                                         Michael Murray
                                         Attorney of Record for Petitioners
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                      STATEMENT OF RELIEF SOUGHT
      Petitioners file this emergency petition for a writ of mandamus and request an

immediate administrative stay of an order issued today by the district court

transferring this case—for a second time—to the U.S. District Court for the District

of Columbia. See District Court Docket (“Dist. Ct. Dkt.”) 96 (attached as Exhibit

1). Less than two months ago, this Court entered an administrative stay of the district

court’s prior transfer order, and this Court ultimately vacated the transfer order on

mandamus review. See No. 24-10248, ECF 55; No. 24-10248, ECF 62; In re Fort

Worth Chamber of Com., No. 24-10266, 2024 WL 1976963. Today, the district

court once again ordered transfer.

      Petitioners thus seek an emergency writ of mandamus ordering the district

court to reopen the case and to immediately request that this case be transferred back

to Forth Worth from the U.S. District Court for the District of Columbia, to allow

the Fort Worth Chamber of Commerce and its co-plaintiffs to continue to challenge

the Consumer Financial Protection Bureau’s (“CFPB”) new rule regarding credit

card late fees. To ensure that this Court has an opportunity for appellate review,

Plaintiffs also request that this Court issue an emergency administrative stay of the

district court’s transfer order while it considers this petition for a writ of mandamus.

Plaintiffs filed this petition within hours of the district court’s order and respectfully

ask for a ruling before the U.S. District Court for the District of Columbia dockets


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the case, which could be as early as the opening of business tomorrow morning;

Plaintiffs thus respectfully request a ruling by 8 a.m.

                               ISSUE PRESENTED
      Whether the district court abused its discretion in transferring the case to the

District of Columbia under 28 U.S.C. § 1404 based on the location of the lawyers,

the court’s congestion, and the nature and merits of this federal regulatory

challenge.

             INTRODUCTION AND NATURE OF EMERGENCY
      Petitioners respectfully petition for mandamus relief to prevent a legally

erroneous transfer to the District of Columbia that would delay the resolution of this

challenge and deprive Petitioners of their choice of a proper and appropriate venue.

This Court has already issued mandamus relief once in this proceeding to prevent

the district court’s transfer. See In re Fort Worth Chamber of Com., No. 24-10266,

2024 WL 1976963 (5th Cir. May 3, 2024). The Court issued a writ on the grounds

that the district court lacked jurisdiction to transfer the case because Petitioners had

already noticed an appeal of the effective denial of their preliminary-injunction

motion. Id. at *5-6. Additionally, in a concurring opinion, Judge Oldham

emphasized that even if the district court had jurisdiction, the transfer was

inappropriate because Defendants had not shown good cause to merit transfer. Id. at

*7-11 (Oldham, J., concurring).


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      Today, the district court again transferred this case to the District of Columbia,

basing its decision primarily on congestion in the Northern District of Texas’s

docket, the location of the attorneys, and local interests in adjudicating this dispute

in the District of Columbia. Dist. Ct. Dkt. 96. And, once again, the district court

refused to stay its order to allow for an ordinary appeal, necessitating this request for

emergency relief.

      Mandamus relief is appropriate in these circumstances. First, this Court has

held that mandamus relief is the only adequate relief for erroneous transfer orders.

Second, Petitioners have established that they meet the standard that their right to

relief is indisputable: The district court clearly abused its discretion in ordering

transfer under 28 U.S.C. § 1404(a), the Volkswagen II factors, and this Court’s

binding precedent in In re Clarke, 94 F.4th 502, 508 (5th Cir. 2024), which is nearly

indistinguishable from this case. Finally, mandamus relief is appropriate in these

circumstances, where the district court’s rationale envisions a sweeping change in

challenges to federal rulemaking under the Administrative Procedure Act (“APA”),

and its decision to transfer the case subjects Petitioners to an inappropriate exercise

of a § 1404(a) transfer with little chance of review in the normal course. See In re

Fort Worth Chamber of Com., 2024 WL 1976963, at *11 (citing In re TikTok, Inc.,

85 F.4th 352, 367 (5th Cir. 2023)) (“[M]andamus is an appropriate exercise of our




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supervisory discretion where transfer decisions are rarely reviewed and district

courts continue to inconsistently administer § 1404(a) transfers.”).

                     STATEMENT OF RELEVANT FACTS
      The underlying challenge in this case concerns the CFPB’s new rule on credit

card late fees, which upends the way that credit card issuers have assessed late fees

for over a decade. See Credit Card Penalty Fees (Regulation Z), 89 Fed. Reg. 19,128

(Mar. 15, 2024) (“Final Rule”). Congress expressly recognized that issuers may

impose “penalty fee[s]” when customers violate their credit card agreements, so long

as such fees are “reasonable and proportional to the omission or violation.” 15

U.S.C. § 1665d(b). And Congress tasked federal agencies—first the Federal Reserve

Board of Governors (the “Board”), and now the CFPB—with establishing standards

for ensuring that such “penalty fees” are “reasonable and proportional,” taking into

account the costs incurred by the issuer from such violation, the deterrence effects

of a late fee, and the conduct of the cardholder. 15 U.S.C. § 1665d. A decade ago,

the Board promulgated, and the CFPB subsequently adopted, a regulatory

framework that attempted to incorporate those three statutory criteria into its late-fee

safe harbor.

      In the Final Rule, the CFPB slashes the existing safe harbor amount by 75

percent, permitting credit card issuers to collect only $8 for first-time and subsequent

late payments instead of the $30 and $41 that were previously allowed. In setting


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that new amount, the CFPB has effectively jettisoned two of the criteria that

Congress directed it to consider and focused solely on a subset of the costs that

issuers incur as a result of late payments. Because the Final Rule will prevent issuers

from collecting the reasonable and proportional penalty fees that the Credit Card

Accountability Responsibility and Disclosure Act of 2009 (“CARD Act”) expressly

authorizes, the Rule plainly exceeds the CFPB’s statutory authority. Further, the

CFPB imposed a 60-day effective date that would not only have been unworkable

for credit card issuers, but violates the Truth in Lending Act’s provision that any

rules “requiring any disclosure which differs from the disclosures previously

required by this part . . . shall have an effective date of that October 1 which follows

by at least six months the date of promulgation.” 15 U.S.C. § 1604(d).

      The CFPB announced the Final Rule on March 5, 2024, and Petitioners

promptly filed this lawsuit and a motion for preliminary injunction on March 7,

2024. The complaint explains that venue was proper in the Northern District of

Texas because one of the Petitioners—the Fort Worth Chamber of Commerce—

resides in the district and “a substantial part of the events or omissions giving rise to

the claims occurred in this district.” Dist. Ct. Dkt. 1 at 11. Petitioners alleged that

the Final Rule violated the Appropriations Clause and the separation of powers, the

Credit Card Accountability Responsibility and Disclosure (“CARD Act”), the Dodd-




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Frank Act, the Administrative Procedure Act, and the Truth in Lending Act

(“TILA”). Id. at 35-40.

      In light of the “short runway for issuers to comply [with the Final Rule] or

seek injunctive relief,” Petitioners requested expedited briefing and a decision within

10 days (by March 17, 2024). In re Fort Worth Chamber of Com., No. 24-10266,

2024 WL 1976963, at *4 (5th Cir. May 3, 2024). As Petitioners explained, the

process of printing and distributing new disclosures had to begin immediately, as it

typically takes 4 months when done on an issuer-by-issuer basis and would take

much longer with issuers representing 95 percent of the affected accounts forced to

act at once. The district court granted Petitioners’ motion for expedited briefing for

“good cause” and set a briefing schedule that concluded on March 14, 2024.

App.216. Judge O’Connor then recused himself on March 14, 2024, and Judge Mark

Pittman was assigned to the case. App.257.

      After the preliminary-injunction motion was fully briefed, Judge Pittman sua

sponte issued an order inviting the CFPB to file a motion for discretionary transfer

and setting a briefing schedule that would continue for an additional week.

App.281-82. In light of the accruing irreparable harm and concern that a transfer

would both cause additional irreparable harm and deny Petitioners’ appellate review

in this Court, Petitioners filed a motion for expedited consideration of their

preliminary-injunction motion. Petitioners asked the district court to resolve that


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motion before considering any discretionary transfer and in all events by Friday,

March 22, 2024, and requested that if the court denied their motion, the court issue

an injunction pending appeal. App.288-90; App.309. The district court denied

Petitioners’ motion for expedited consideration, citing the demanding docket in the

Northern District of Texas, without addressing the significant harms cited by

Petitioners. App.314.

      That same day, the CFPB filed a motion to transfer the case to the U.S. District

Court for the District of Columbia. App.316. In their opposition, Petitioners

requested that any transfer order be stayed to allow for this Court’s review in a timely

fashion. App.400. Petitioners filed a notice of appeal and an emergency motion for

an injunction pending appeal and an administrative stay, that same day, based on the

district court’s effective denial of their motion for a preliminary injunction.

App.418-20.

      Three days later, the district court granted Defendants’ motion to transfer,

without staying its order. App.461-67. The next day, Petitioners filed an emergency

petition for a writ of mandamus and a motion for an administrative stay.

      This Court immediately granted Petitioners’ request for an administrative

stay. It subsequently granted a writ of mandamus on the grounds that the district

court lacked jurisdiction to transfer the case during the pendency of Petitioners’

appeal from the effective denial of their motion for a preliminary injunction. See No.


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24-10266, ECF No. 5; In re Fort Worth Chamber of Com., No. 24-10266, 2024 WL

1976963, at *6 (5th Cir. May 3, 2024) (revised opinion replacing original, withdrawn

opinion). In a concurring opinion, Judge Oldham explained that transfer would have

been inappropriate even if the district court had jurisdiction because Defendants

failed to “clearly establish good cause for the transfer.” In re Fort Worth Chamber

of Com., 2024 WL 1976963, at *7 (Oldham, J., concurring) (internal quotation

omitted).

      Subsequently, this Court vacated the district court’s effective denial of

Petitioners’ motion for a preliminary injunction and issued a limited remand

instructing the district court to rule on the motion by May 10, 2024. No. 24-10248,

ECF No. 105. On May 10, the district court granted Petitioners’ motion for a

preliminary injunction. App.512-23. In assessing the likelihood of Petitioners’

success on the merits, the district court relied solely on Petitioners’ claim that the

Final Rule was promulgated through the agency’s “double-insulated funding

scheme,” which this Court held to be unconstitutional in Community Financial

Services Ass’n of America, Ltd. v. CFPB, 51 F.4th 616 (5th Cir. 2022) (“CFSA”).

The district court found it unnecessary to reach Petitioners’ alternative statutory

claims, which it described as “compelling.” App.516. On May 16, the Supreme

Court reversed this Court’s binding precedent in CFSA. The CFPB explained to the

district court that it intended to seek to dissolve the preliminary injunction and


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transfer the case. App.534 n.1. This Court later granted the CFPB’s motion to

dismiss the appeal in this case and issued the mandate, thus returning full jurisdiction

to the district court. No. 24-201248, ECF No. 122; No. 24-10266, ECF No. 134.

      On May 28, the CFPB filed a motion to again transfer the case to the District

of Columbia. Dist. Ct. Dkt. 94. Later that day, the district court ordered that the case

be transferred to the District of Columbia. See Dist. Ct. Dkt. 96. The court explained

that its order was based on Defendants’ prior motion to transfer and Petitioners’

response. Id. at 1 n.1. And, the district court, once again, failed to stay the transfer

order and allow Petitioners time to seek appellate review, as previously requested by

Petitioners and indicated by Judge Oldham. See App.400; In re Fort Worth Chamber

of Com., No. 24-10266, 2024 WL 1976963, at *11 (Oldham, J., concurring) (“This

case again highlights why a district court should stay a transfer order for a short

period so that opposing parties may appeal it . . . . [T]hat procedure would have

avoided the very unfortunate circumstance presented by this motion: we’ve been

forced to consider a mandamus application on a highly truncated timeline and to

grant relief that could’ve otherwise been avoided.”); cf. Gen. Or. 2024-2 (S.D. Tex.

Feb. 28, 2024) (“[A]n order that transfers a civil case . . . to a district court outside

the Fifth Circuit is stayed for 21 days from the date the order is entered on the

docket.”).




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          In its new transfer order, the district court again emphasized that the Northern

District of Texas has a busier docket than that of the District of Columbia and that

Petitioners challenge actions by government officials based in the District of

Columbia. Dist. Ct. Dkt. 96 at 8-9. More specifically, the district court found that

three of the four private interest factors were “neutral” as to transfer, but that one

factor—“all other practical factors that might make a trial more expeditious and

inexpensive”—weighed in favor of transfer because most of Petitioners’ lawyers

were located in the District of Columbia. Dist. Ct. Dkt. 96 at 7-8. The district court

found that two of the public interest factors were likewise neutral, while the other

two—“court congestion” and “local interests”—favored transfer. Dist. Ct. Dkt. 96

at 8-9.

          Plaintiffs now, within hours of receipt of the district court’s transfer order,

request a stay of that order and file this petition for a writ of mandamus, in

accordance with this Court’s procedure in the SpaceX case. See, e.g., In re Space

Exploration Technologies, Corp., No. 24-40103, 2024 WL 948321 (Mar. 5, 2024)

(Elrod, J., dissenting) (“Because the stay was entered before transfer of the case was

complete, we confirmed that we retained jurisdiction over the case”).

                       REASONS FOR GRANTING THE WRIT
          A writ of mandamus is warranted if the petitioner satisfies three conditions.

First, the petitioner must show that there are “no other adequate means to attain the


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relief he desires.” Cheney v. U.S. Dist. Court, 542 U.S. 367, 380 (2004). Second, the

petitioner must show a “clear and indisputable right to the writ.” Id. at 381. Third,

the court “must be satisfied that the writ is appropriate under the circumstances.” Id.

Petitioners satisfy all three conditions.

 I.   Petitioners have no other adequate means of relief.

      With respect to a motion for transfer under § 1404(a), “this circuit has

established that the first ‘mandamus requirement [of no other adequate means of

relief] is satisfied.’ ” In re TikTok, Inc., 85 F.4th 352, 358 (5th Cir. 2023) (quoting

In re Radmax, Ltd., 720 F.3d 285, 287 n.2 (5th Cir. 2013) (per curiam)).

II.   Petitioners have a clear and indisputable right to the writ.

      Petitioners have a clear and indisputable right to the writ because the district

court clearly abused its discretion in ordering transfer under § 1404(a), Volkswagen

II, and this Court’s binding decision in Clarke. See Volkswagen II, 545 F.3d at 311

(right is indisputable if district court clearly abused discretion); see also Clarke, 94

F.4th at 508.

      A defendant moving to transfer venue bears the heavy burden of “clearly

demonstrat[ing]” that its chosen venue is “clearly more convenient,” not merely

“more likely than not to be more convenient.” Clarke, 94 F.4th at 508. “Assuming

that jurisdiction exists and venue is proper, the fact that litigating would be more

convenient for the defendant elsewhere is not enough to justify transfer.” Def.


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Distributed v. Bruck, 30 F.4th 414, 433 (5th Cir. 2022). Thus, the party moving for

transfer must show that “the marginal gain in convenience will be significant” and

that “those marginal gains will actually materialize in the transferee venue.” Clarke,

94 F.4th at 508.

      More specifically, district courts in the Fifth Circuit must consider eight

factors when weighing whether the moving party carried its burden. That said, there

is good reason to argue that a party seeking an inter-circuit transfer, as here, must

carry a higher burden. See In re Fort Worth Chamber of Com., 2024 WL 1976963,

at *9 n.3 (Oldham, J., concurring) (noting that the eight factors described below are

drawn from a decision involving an intra-circuit transfer and “[q]uery[ing] whether

a higher burden should be met in advocating a § 1404(a) transfer from a district court

in one circuit to a district court in another circuit more than 1,000 miles away”). The

four private-interest factors are “(1) the relative ease of access to sources of proof;

(2) the availability of compulsory process to secure the attendance of witnesses; (3)

the cost of attendance for willing witnesses; and (4) all other practical problems that

make trial of a case easy, expeditious and inexpensive,” Def. Distributed, 30 F.4th

at 433-34, and the public-interest factors are “([5]) the administrative difficulties

flowing from court congestion; ([6]) the local interest in having localized interests

decided at home; ([7]) the familiarity of the forum with the law that will govern the




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case; and ([8]) the avoidance of unnecessary problems of conflict of laws [or in] the

application of foreign law,” id. at 435.

      In this case, as in Clarke, the district court recognized that most of the factors

were neutral. Yet also as in Clarke, the district court erroneously concluded that

court congestion and local interests favored transfer. And the district court

compounded those errors by focusing on the location of the lawyers when assessing

the fourth private interest factor concerning practicalities. As in Clarke, the district

court committed a clear abuse of discretion in its ruling.

      A. Petitioners filed suit in a proper venue

      A plaintiff’s choice of venue is entitled to deference. See Volkswagen II, 545

F.3d at 315; see also Time, Inc. v. Manning, 366 F.2d 690 (5th Cir. 1966) (cleaned

up) (“[P]laintiff’s privilege of choosing venue places the burden on the defendant

to demonstrate why the forum should be changed. Plaintiff’s privilege to choose,

or not to be ousted from, his chosen forum is highly esteemed.”).

      The district court asserted that Petitioners’ choice of venue is entitled to less

weight where “plaintiff brings suit outside his home forum.” Dist. Ct. Dkt. 96 at 5.

But that proposition is inapplicable in this case and conflicts with the relevant

venue statute. The proposition is inapplicable in this case because this division and

district is the home forum of one of the petitioners, the Fort Worth Chamber of

Commerce. See In re Fort Worth Chamber of Com., 2024 WL 1976963, at *8


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(Oldham, J., concurring) (“I am unaware of any support in our precedent or the

Supreme Court’s for this less-respect rule. To the contrary, we have never put a

geographic caveat on our repeated statements about the plaintiff's choice of

venue.”). And such a rule conflicts with the relevant venue statute because that

statute provides for three avenues to establish venue, “including, but expressly not

limited to, the residence of the plaintiff.” Id. (citing 28 U.S.C. § 1391(e)(1)(C)).

“Because Congress gave no textual priority to one of these three avenues, [courts]

cannot give preference to suits brought in the plaintiff’s home forum.” Id.

       The district court’s emphasis on the District of Columbia’s status as “the

epicenter for these types of rules and challenges,” Dist. Ct. Dkt. 96 at 10, squarely

conflicts with Congress’s decision to allow federal rulemaking challenges to

proceed in courts across the country, so long as the requirements of the venue

statute are satisfied.

       The district court took note that Petitioners’ “only apparent connection” to

the Northern District of Texas is that one Petitioner is headquartered there and the

effects of the CFPB’s Final Rule will be felt here. Dist. Ct. Dkt. 96 at 11. But, as

noted above, the residence of the Petitioner is one of the three avenues to establish

venue expressly articulated by Congress. See 28 U.S.C. § 1391(e)(1)(C). And

whether venue would also be proper elsewhere, see In re Fort Worth Chamber of

Com., 2024 WL 1976963, at *3 (Higginson, J., dissenting), does nothing to detract


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from the “longstanding deference that courts show towards the plaintiff’s choice of

venue.” Id. at *7 (Oldham, J., concurring).

      Moreover, the fact that the effects of the CFPB’s Final Rule will be felt in

Fort Worth supports Petitioners’ choice to file its lawsuit in this district. District

courts have held that “a substantial part of the events or omissions giving rise to

the claim[s]” takes place where an unlawful rule imposes its burdens. See, e.g.,

Texas v. United States, 95 F. Supp. 3d 965, 973 (N.D. Tex. 2015) (O’Connor, J.)

(finding venue proper under § 1391(e)(1) in a challenge to a Department of Labor

rulemaking regulating employment because one plaintiff employed people in the

district), injunction dissolved on other grounds, 2015 WL 13424776 (N.D. Tex.

June 26, 2015). The CFPB’s final rule will impose substantial burdens here, where

several card-issuing members of Petitioner associations have customers. The Final

Rule will burden those issuers’ relationships with their many cardholders (and

prospective cardholders) in Fort Worth.

      It bears emphasizing that to establish venue under this alternative avenue, 28

U.S.C § 1391(e)(1)(B), Petitioners need only show that a “substantial part of the

events” giving rise to the claim occurred in the district. There is no requirement

that the impact be “uniquely and particularly felt,” notwithstanding the district

court’s statement otherwise. Compare Dist. Ct. Dkt. 96 at 11 (“An easy way for

Plaintiffs to guarantee proper venue is to bring cases in jurisdictions where the


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impact is uniquely and particularly felt.”); with In re Fort Worth Chamber of

Com., 2024 WL 1976963, at *8 (Oldham, J., concurring) (citing App.466) (noting

that “those words do not appear in the relevant federal venue statute”).

      B. Public interest factors

      As in Clarke, the district court clearly abused its discretion in concluding that

court congestion and local interest factors weighed in favor of transfer to the District

of Columbia.

      1. Court Congestion. In Clarke, this Court expressly held that court

congestion alone is not a sufficient basis for transfer because it would undermine the

“weight” due to a plaintiff’s choice and “ignore[] the plaintiffs’ role as master of the

complaint.” Clarke, 94 F.4th at 515. In granting mandamus to a district court that

transferred an APA case from the Western District of Texas to the District of

Columbia, this Court explained, “it would be a stretch to say that court congestion

‘favors D.D.C.’ and not just transfer ‘somewhere else.’” Clarke, 94 F.4th at 515. Yet

in this case, the district court focused on court congestion statistics to conclude that

“court congestion” “more heavily favors transfer” because of the expedited timeline

of this case. That is clearly wrong after Clarke. See In re Fort Worth Chamber of

Com., 2024 WL 1976963, at *10 (Oldham, J., concurring) (“[A] district court’s

‘guess’ about the congested nature of other district dockets” is entitled to much less




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weight and, for that reason, “[i]f this factor weighs in favor of transfer, it does so

only slightly.”).

      Any weight this factor may have in favor of transfer is reduced even further

now that this dispute has already made its way through the district court’s docket

and the preliminary injunction motion has been decided. The time required for

another court to familiarize itself with the proceedings supplants concerns about the

speed of disposition of cases in the Fort Worth division, which has already begun

adjudicating these issues. See Sanders v. Johnson, No. CIV.A. H-04-881, 2005 WL

2346953, at *2 (S.D. Tex. Sept. 26, 2005) (“This Court has a working knowledge of

this case, and a transfer at this stage would be a waste of judicial resources.”). It is

no longer “clearly” the case, Clarke, 94 F.4th at 508, that the “D.D.C. would

facilitate a more expeditious resolution of this time sensitive manner,” Dist. Ct. Dkt.

96 at 8, than the district court in Fort Worth.

      2. Local Interests. In Clarke, this Court concluded that the district court

“clearly abused its discretion” in concluding that local interests “weighed heavily in

favor of” transfer to the District of Columbia. This Court held that the “local-interest

inquiry is concerned with the interest of non-party citizens” in adjudicating the case,

not “the parties’ connections to the venue.” Clarke, 94 F.4th at 511. Because the

effects of the regulatory action would be felt by regulated parties in the district (and




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also in the District of Columbia), this Court concluded that this factor did not weigh

in favor of transfer. Id.

       The same is true here. Plaintiffs have amply demonstrated that non-party

citizens in this District have a strong interest in the outcome of this case. See App.410

(stating that Comenity and Comenity Capital Bank serve 5,793 client locations in

Texas, compared to only 51 in the District of Columbia); App.407 (“As of December

31, 2023, Synchrony has approximately 6.4 million unique cardholders in Texas,

including approximately 600,000 in the Fort Worth Division and approximately

200,000 in the Tyler Division. By contrast, Synchrony has approximately 71,000

cardholders in the District of Columbia.”); id. at ¶ 9 (“[A]pproximately 11% of

Synchrony’s total outstanding loan receivables were from Texas—the highest

amount of any state. Approximately 0.1% of Synchrony’s total outstanding loan

receivables were from the District of Columbia—a smaller amount than in any

state.”); see also In re Fort Worth Chamber of Com., 2024 WL 1976963, at *10

(Oldham, J., concurring) (“Plaintiffs have alleged that many of the non-party citizens

that will be affected by the challenged CFPB Rule live in Texas, including in the

Northern District. And as relevant to the ‘relative’ nature of the transfer analysis,

many more potentially affected non-party citizens are in Texas than in the District

of Columbia.”) (citations omitted) (emphasis added).




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      The district court acknowledges that Clarke clarifies that “the local-interest

inquiry is concerned with the interest of non-party citizens” but nevertheless

proceeds to conclude: “[T]he Court finds any argument on this point unpersuasive

here.” Dist. Ct. Dkt. 96 at 9. The district court goes on to emphasize that citizens of

Fort Worth lack any “particularized, localized interest,” see id., but that is exactly

the reasoning rejected in Clarke: “That an interest is highly diffuse (but not

completely diffuse) only increases the chance it is regarded as equally important by

citizens in both the transferor and transferee districts (thereby netting out to zero).”

Clarke, 94 F.4th at 511. Therefore, “[p]roperly understood, local interests do not

weigh in favor of transfer and plausibly weigh against transfer.” In re Fort Worth

Chamber of Com., 2024 WL 1976963, at *10 (Oldham, J., concurring).

      C. Private interest factors

      The district court also clearly abused its discretion in concluding that one of

the private interest factors—practicalities of litigation—weighed heavily in favor of

transfer.

      In assessing the last of the private-interest factors, the district court concluded

that the fourth factor weighs in favor of transfer because “there are ten attorneys

spanning five different firms or organizations representing the various Parties in the

case” and “[o]f the ten, eight list their offices in the District of Columbia,” such that

“any proceedings th[e] Court conducts . . . will require all of Defendants’ counsel


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and two-thirds of Plaintiffs’ counsel to travel to Fort Worth—a task that will be

charged to their clients or to the government.” Dist. Ct. Dkt. 96 at 7. The court

indicated (failing to note the CFPB’s source of funding from the Federal Reserve,

not the Treasury) that “taxpayers, including residents of Fort Worth, would foot an

expensive bill for this litigation.” Id.

       As an initial matter, the district court cited no authority for the proposition

that the location of counsel (as opposed to parties or witnesses) is relevant to the

private-interest factors under Volkswagen II, and indeed precedent confirms it is not.

This Court held in earlier iterations of Volkswagen that “[t]he word ‘counsel’ does

not appear anywhere in § 1404(a), and the convenience of counsel is not a factor to

be assessed in determining whether to transfer a case under § 1404(a).” In re

Volkswagen AG, 371 F.3d 201, 206 (5th Cir. 2004). Nothing in Volkswagen II

contradicts the point or purports to overrule this Court’s earlier precedent that “[t]he

factor of ‘location of counsel’ is irrelevant and improper for consideration in

determining the question of transfer of venue.” See In re Horseshoe Ent., 337 F.3d

429, 434 (5th Cir. 2003). And at least two of this Court’s sister circuits agree, holding

that “[t]he convenience of counsel is not a factor to be considered” in the § 1404

analysis. See Solomon v. Continental Am. Life Ins., 472 F.2d 1043, 1047 (3d Cir.

1973); Chicago, Rock Island & Pac. R.R. Co. v. Igoe, 220 F.2d 299, 304 (7th Cir.

1955). Indeed, it is worth noting that this Court did not consider the location of


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counsel in assessing transfer to the District of Columbia in Clarke, despite the fact

that most of the relevant counsel in that case were also located in the District of

Columbia. See 94 F.4th at 506 & n.12. The district court’s primary response to this

precedent—that location of counsel is not an “independent factor” but rather part of

“a holistic review of practical factors,” Dkt. 96, at 7-8, would render this Court’s

precedent a dead letter.

      The principle that the location of counsel should not factor into the

“practicalities of litigation” analysis or outweigh a proper venue selected by the

plaintiff is even more compelling now than it was at the time of this Court’s original

transfer order. This fourth factor accounts for concerns of judicial efficiency,

including judicial knowledge of a case. See Sanders v. Johnson, No. CIV.A. H-04-

881, 2005 WL 2346953, at *2 (S.D. Tex. Sept. 26, 2005) (“This Court has a working

knowledge of this case, and a transfer at this stage would be a waste of judicial

resources.”). At this point, the district court has already reviewed Petitioners’

statutory claims enough to recognize that they are “compelling.” See Dist. Ct. Dkt.

82 at 5. And both this Court and the district court are well-versed in the irreparable

harm that will accrue to Petitioners and their members as a result of the challenged

rule, see, e.g., id. at 6 (granting Plaintiffs’ motion for a preliminary injunction

because Plaintiffs face irreparable harm); In re Fort Worth Chamber of Com., 2024

WL 1976963, at *4 (noting that the Final Rule “created a short runway for issuers to


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comply or seek preliminary injunctive relief”), as well as the litigation’s complicated

procedural history. It would make little sense to ask a new district court—and a new

circuit court of appeals—to get up to speed on this case.

         Worse, considering the location of counsel in the private-interest analysis

would lead to gamesmanship. For example, the CFPB asked Petitioners to consent

to a motion to waive the agency’s local counsel requirement in this case, and

Petitioners agreed. If such a request were relevant to venue, federal agencies may be

more inclined to make such requests and plaintiffs would have no incentive to

consent to them, even though they save public funds. Nor should plaintiffs be

deterred from selecting their counsel of choice and listing them on pleadings based

on concerns about how the location of their lawyers would affect a transfer analysis.

         Moreover, weighing the location of counsel in favor of transfer risks

fundamentally altering APA litigation and undermining our federalist system. In re

Fort Worth Chamber of Com., 2024 WL 1976963, at *9 n.4 (Oldham, J., concurring)

(“[D]efendants give no indication how the reasoning in the transfer order could not

be used by federal defendants to always support transfers to the D.D.C. on account

of government counsel’s convenience and expense.”). “Such an outcome would

concentrate federal judicial power in D.C. and undermine our federalist system.” Id.

at *9.




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      Finally, the district court’s reliance on the location of counsel does not

“reflect[] the appropriate deference to which the Plaintiffs’ choice of venue is

entitled,” Volkswagen II, 545 F.3d at 315. Of the eight attorneys that reside in the

District of Columbia, six of those are counsel for Petitioners, and four of those are

in-house counsel for some of the Petitioners. Weighing the location of Petitioners’

counsel against Petitioners improperly discounts Petitioners’ choice of venue. See

also In re Fort Worth Chamber of Com., 2024 WL 1976963, at *9 (Oldham, J.,

concurring) (“[P]laintiffs are the ‘master[s] of the complaint.’ That characterization

would mean very little if the travel costs of the plaintiffs’ lawyers could be used to

oppose the plaintiffs’ own choice of venue.”).

      The district court thus clearly abused its discretion in finding that the location

of counsel in this case weighed heavily in favor of transfer.

      D. Good cause

      In light of these errors regarding the public and private interest factors, the

CFPB did not, as it was required to do, “clearly establish good cause for transfer

based on convenience and justice.” Clarke, 94 F.4th at 514. Of the eight factors, six

are neutral under this Court’s precedents and one weighs against transfer. The only

other—court congestion—neither favors transfer to the District of Columbia, as

opposed to somewhere else, nor is “by itself” sufficient to justify transfer. Id. The




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district court clearly abused its discretion by ordering transfer to the District of

Columbia.

III.   Petitioners have shown that a writ is appropriate under the
       circumstances.
       Petitioners also have satisfied the third mandamus requirement, that “the writ

is appropriate under the circumstances.” Cheney, 542 U.S. at 380.

       Mandamus is “especially appropriate” when, as here, “the issues implicated

have importance beyond the immediate case.” Def. Distributed, 30 F.4th at 426. This

Court has “recognized that § 1404(a) decisions often have importance beyond the

immediate case . . . because venue transfer decisions are rarely reviewed, and

district courts have . . . applied [this Court’s] tests with too little regard for

consistency of outcomes.” In re TikTok, Inc., 85 F.4th 352, 367 (5th Cir. 2023)

(cleaned up). Consequently, “granting mandamus in [such a] case will improve

‘consistency of outcomes’ by further instructing when transfer is—or, for that

matter, is not—warranted in response to a § 1404(a) motion.” Id.

       This case in particular involves issues of importance “beyond the immediate

case.” Those issues include the erroneous legal focus of the district court on the

location of lawyers and court congestion, as well as its premise that the District of

Columbia should be the “epicenter” for APA challenges. The district court’s ruling

contemplates sweeping implications for APA challenges. It is hard to see how any

APA challenges would remain in this Circuit if court congestion, the location of
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lawyers, and the District of Columbia’s role in agency rulemaking justify transfer in

the mine-run of cases.

                                   CONCLUSION
      Petitioners respectfully ask that the Court grant their emergency petition for a

writ of mandamus and, during its consideration of that petition, issue an

administrative stay of the district court’s transfer order.

Dated: May 28, 2024                             Respectfully submitted,


                                                /s/ Michael Murray
                                                Michael Murray
                                                D.C. Bar No. 1001680
                                                michaelmurray@paulhastings.com
                                                Tor Tarantola
                                                D.C. Bar No. 1738602
                                                tortarantola@paulhastings.com
                                                PAUL HASTINGS LLP
                                                2050 M Street NW
                                                Washington, DC 20036
                                                (202) 551-1730

                                                Philip Vickers
                                                Texas Bar No. 24051699
                                                pvickers@canteyhanger.com
                                                Derek Carson
                                                Texas Bar No. 24085240
                                                dcarson@canteyhanger.com
                                                CANTEY HANGER LLP
                                                600 West 6th Street, Suite 300
                                                Fort Worth, TX 76102
                                                (817) 877-2800


                                                COUNSEL FOR PETITIONERS

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                         CERTIFICATE OF SERVICE

      Pursuant to Fed. R. App. P. 25(d) and 5th Cir. R. 25.2.5, I hereby certify that

on May 28, 2024, I filed the foregoing document via the Court’s CM/ECF system

and

also caused the foregoing to be served by email on the following counsel for

Respondents:


Stephanie Garlock
Justin Michael Sandberg
1700 G Street, NW
Washington, DC 20552
stephanie.garlock@cfpb.gov
justin.sandberg@cfpb.gov


      Pursuant to Fed. R. App. P. 21(a), I hereby certify that on May 28, 2024, I

also caused the foregoing to be served by email on the district court at the

following email address (Pittman_Orders@txnd.uscourts.gov).

                                              /s/ Michael Murray
                                              Michael Murray
                                              Attorney for Petitioners




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  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT,
TYPFACE REQUIREMENTS, AND TYPE-STYLE REQUIREMENTS AND
                    5TH CIR. R. 27.3

      This document complies with the word limit of Fed. R. App. P. 21 because it

contains fewer than 7800 words. This brief also complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and 5th Cir. R. 32.1 and the type-style

requirements of Fed. R. App. P. 32(a)(6) because it has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point Times New

Roman font. Additionally, I certify that any required redactions have been made in

compliance with 5th Cir. R. 25.2.13. I certify that the facts supporting emergency

consideration of the motion are true and complete.

Dated: May 28, 2024

                                              /s/ Michael Murray
                                              Michael Murray
                                              Attorney for Petitioners




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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   CHAMBER OF COMMERCE OF THE
   UNITED STATES OF AMERICA, ET AL.,

        Plaintiffs,

   v.                                                  No. 4:24-cv-00213-P

   CONSUMER FINANCIAL PROTECTION
   BUREAU, ET AL.,

        Defendants.

                            OPINION & ORDER
      On March 28, 2024, this Court transferred this case to the District
   Court for the District of Columbia. Ultimately, the Fifth Circuit
   determined that transfer was procedurally improper and invalidated the
   transfer. Following this Court’s May 10 particularized findings and a
   subsequent ruling by the U.S. Supreme Court concerning a related case,
   the Fifth Circuit returned jurisdiction of this case for this Court to
   adjudicate. Accordingly, for the reasons stated below, the Court
   TRANSFERS this case to the United States District Court for the
   District of Columbia (“D.D.C.”). 1 Given the Fifth Circuit’s admonition
   that this Court had previously not acted swiftly enough in handling this
   case, the Court determines it is in the best interest of the Parties and
   justice to transfer the case at the earliest possible juncture.

                               BACKGROUND
      In January 2022, President Biden’s appointed CFPB Director Rohit
   Chopra issued a bulletin characterizing credit card late fees as “junk


       The Court notes that Defendants filed a Renewed Motion to Transfer on
        1

   the date of this order, May 28, 2024. ECF No. 94. However, because the Parties
   have already fully briefed their respective positions on venue, this order is
   based on Defendants’ prior Motion to Transfer (ECF No. 52) and Plaintiffs’
   subsequent Response (ECF No. 55).
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   fees.” A few weeks later, the CFPB issued a request for information from
   consumers to gather their viewpoints and assist in determining whether
   such fees should bear that taxonomy. Before receiving responses, on
   June 22, 2022, the CFPB issued an Advance Notice of Proposed
   Rulemaking, requesting information on card issuers’ costs and the
   deterrent effects of late fees. The CFPB gave card issuers thirty days to
   respond with a ten-day extension added thereafter. The CFPB declined
   card issuers’ requests for additional extensions.
      On February 1, 2024, the Biden administration announced new
   regulations and legislative proposals designed to combat so-called junk
   fees. The Final Rule at issue in this case would reduce the late-fee safe
   harbor from $30 to $8, would no longer adjust this amount for inflation,
   and would reduce the cap on late fees to twenty-five percent of the
   missed minimum payment. The Final Rule was presented on March 5,
   2024, and was slated to go into effect on May 14.
      On March 7, 2024, the Chamber of Commerce of the United States of
   America, along with the Longview and Fort Worth Chambers of
   Commerce, the American Bankers Association, the Consumer Bankers
   Association, and the Texas Association of Business, sued the CFPB and
   Director Rohit Chopra in this Court. Their complaint alleges violations
   of the Appropriations Clause and separation of powers, as well as
   violations of the APA, CARD, and Dodd-Frank Acts. Ultimately, they
   sought a declaratory judgment that the Final Rule violates the APA.
   That same day, they filed a Motion for Preliminary Injunction to stay
   the Final Rule from going into effect, accompanied by an emergency
   motion for an expedited briefing schedule. Plaintiffs did not request the
   issuance of a Temporary Restraining Order. However, Plaintiffs asked
   the Court for a ten-day turnaround on their request for injunctive relief.
   After filing, Plaintiffs’ case played musical chairs. It was originally
   assigned to Senior Judge Terry Means, it was then reassigned to Judge
   Reed O’Connor, Judge O’Connor recused from the case, and it was
   reassigned to the undersigned judge. This case’s procedural history gets
   even more convoluted after that.
      After an initial review of the record, on Monday, March 18, 2024, a
   mere two business days after receiving the case, the undersigned
   ordered the Parties to file supplemental briefing to determine whether

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   the Fort Worth Division of this Court is the appropriate venue for this
   case. 2 In response, Plaintiffs filed a motion on March 19, 2024, asking
   the Court to consider their request for injunctive relief before assessing
   venue. That motion informed the Court that it need not worry about
   venue and requested a ruling on Plaintiffs’ preliminary injunction by
   Friday, March 22, 2024. The motion also stated that Plaintiffs would
   seek appellate review if the Court did not rule on the preliminary
   injunction by March 22, arguing any later decision would “effectively
   deny” their request for injunctive relief because they must provide
   printed notice to millions of customers by March 26, 2024. Again,
   Plaintiffs never requested a TRO.
      The following day, on March 20, 2024, the Court denied Plaintiffs’
   expedited motion, explaining that the Court, per its longtime docket-
   management practice, must first determine whether venue is proper
   before ruling on an injunction that may not appropriately be before it.
   The next day, Defendants filed their Motion to Transfer the case to the
   United States District Court for the District of Columbia. Four days
   later, as pledged, Plaintiffs filed an interlocutory appeal of the Court’s
   “effective denial” of their expedited preliminary injunction. On March
   26, 2024, the Court ordered the Parties to meet and prepare a proposed
   scheduling order, set a hearing on the preliminary injunction for April 2
   (the Court’s first available opportunity), and ordered the Parties to
   attend mediation by April 19, 2024. However, on March 28, 2024, having
   found venue improper here, the Court transferred the case to the
   District of Columbia. The Fifth Circuit stayed that order so it could hear
   oral arguments on Plaintiffs’ mandamus motion. The Fifth Circuit then

      2In ten years as a Texas and federal judge, it has been the undersigned

   judge’s standard practice to examine, and ask for briefing on, venue as early
   as possible in a case when it appears from a cursory review of the pleadings,
   as here, that the ties to the Fort Worth Division are particularly attenuated.
   See, e.g., Progressive Cnty. Mut. Ins. Co. v. Keechi Transp., LLC, No. 4:22-CV-
   00533-P, 2022 WL 17095927 (N.D. Tex. Nov. 21, 2022) (Pittman, J.); Career
   Colleges & Sch. of Texas v. United States Dep’t of Educ., No. 4:23-CV-0206-P,
   2023 WL 2975164 (N.D. Tex. Apr. 17, 2023) (Pittman, J.); Inst. for Free Speech
   v. Johnson, No. 4:23-CV-0808-P, 2023 WL 7420281 (N.D. Tex. Nov. 8, 2023)
   (Pittman, J.).



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   granted mandamus relief, ordering that this case be reopened in Fort
   Worth on April 8, 2024. Thereafter, at 9:53 p.m. on April 30, the Fifth
   Circuit released an opinion in which it held that this Court had
   “effectively denied” Plaintiffs’ expedited motion for preliminary
   injunction. Importantly, mandamus was granted because this Court
   lacked jurisdiction over the case pending the appeal—not because the
   transfer itself was improper. The Fifth Circuit ordered a limited remand
   directing this Court to make particularized findings on the preliminary
   injunction’s merits by May 10, 2024. On May 10, this Court made such
   findings and concluded that under Fifth Circuit precedent, the CFPB
   had been declared unconstitutionally funded, and thus, the Final Rule
   was improperly promulgated. The Court granted the preliminary
   injunction.

       On May 16, 2024, the Supreme Court issued its opinion, see CFPB v.
   Cmty. Fin. Servs. Ass’n of Am., Ltd., No. 22-448, 2024 WL 2193873 (U.S.
   May 16, 2024), reversing the Fifth Circuit’s decision that this Court
   relied on in granting the preliminary injunction, see Cmty. Fin. Servs.
   Ass’n of Am., Ltd. v. CFPB, 51 F.4th 616, 643 (5th Cir. 2022). In its
   opinion, the Supreme Court held that the CFPB is constitutionally
   funded, and thus, this Court’s previous particularized findings related
   to the preliminary injunction are moot. On May 20, 2024, Defendants
   filed a motion to immediately issue the mandate, rather than wait until
   the July 9, 2024, mandate date initially issued by the Fifth Circuit.
   Finding the motion unopposed, the Fifth Circuit granted Defendants’
   motion on May 24 and fully relinquished jurisdiction of the case back to
   this Court.

      Since this Court has regained jurisdiction and there are no pending
   appeals, it is imperative that the Court act promptly in revisiting the
   venue issues that have plagued this case from its inception. The Court
   does so below.

                           LEGAL STANDARD
      A district court may transfer any civil case “[f]or the convenience of
   the parties and witnesses, in the interest of justice . . . to any other
   district or division where it might have been brought.” 28 U.S.C.

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   § 1404(a). Such transfer is between venues, not forums. See In re
   Volkswagen of Am. Inc., 545 F.3d 304, 308 n.2 (5th Cir. 2008) (en banc).
   “It is well settled that the party moving for a change of venue bears the
   burden” of demonstrating good cause for why the forum should be
   changed. JTH Tax, LLC v. Yong, No. 4:22-CV-01008-O, 2023 WL
   5216496, at *2 (N.D. Tex. Aug. 11, 2023) (O’Connor, J.) (internal
   quotation marks omitted). To carry that burden, the defendant must
   show that the transferee venue is “clearly more convenient than the
   venue chosen by the party.” Volkswagen, 545 F.3d at 315. If the
   defendant does not meet this burden, then “the plaintiff’s choice should
   be respected.” Id.
       The plaintiff’s choice of venue is “a factor to be considered but in and
   of itself it is neither conclusive nor determinative.” In re Horseshoe Ent.,
   337 F.3d 429, 434–35 (5th Cir. 2003). The weight accorded the Plaintiffs’
   choice of venue “is diminished where the plaintiff brings suit outside his
   home forum.” Santellano v. City of Goldthwaite, 3:10-CV-2533-D, 2011
   WL 1429080, at *2 (N.D. Tex. Apr. 14, 2011) (Fitzwater,
   C.J.) (citing Alexander & Alexander, Inc. v. Donald F. Muldoon & Co.,
   685 F. Supp. 346, 349 (S.D.N.Y. 1988)); see also TransFirst Grp., Inc. v.
   Magliarditi, 237 F. Supp. 3d 444, 459 (N.D. Tex. 2017) (Lindsay, J.).
   Courts use a two-step inquiry to determine if transfer is proper. See
   Volkswagen, 545 F.3d at 312. First, they ask whether the plaintiff could
   have originally sued in the transferee district. Id. Second, they weigh
   private- and public-interest factors to determine whether a
   venue transfer serves the convenience of parties and witnesses and is in
   the interest of justice. Id. at 315. In reviewing a district court’s transfer
   decision, “in no case will [the appellate court] replace a district court’s
   exercise of discretion with [its] own; [it] review[s] only for clear abuses
   of discretion that produce patently erroneous results.” Volkswagen, 545
   F.3d at 312.
                                  ANALYSIS
      The Court has already analyzed the above mentioned private- and
   public-interest factors listed above in its March 28 Order, which
   originally transferred this case to the D.D.C. See ECF No. 67. While the
   Fifth Circuit reversed that decision and ruled that the transfer was

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   improper, the majority’s reasoning was based on this Court’s lack of
   jurisdiction to transfer the case pending an appeal, not because the
   transfer analysis was improper or that the Court abused its discretion
   in transferring the case to a more appropriate venue. See ECF No. 81 at
   1-14. Accordingly, given that the Court now has full jurisdiction over the
   case with no appeals pending, the Court again determines that transfer
   is appropriate for the reasons stated below.

      A. Transfer Analysis
       It is indisputable that this action could have been brought in the
   D.D.C. A civil action against a government agency or officer in their
   official capacity may be brought in a “judicial district in which any
   defendant resides,” “a judicial district in which a substantial part of the
   events or omissions giving rise to the claim occurred,” or where the
   plaintiff resides if no real property is involved. 28 U.S.C. § 1391(e). Here,
   both Defendants and three of the six Plaintiffs reside in Washington,
   D.C., where the Rule was promulgated. Compare this with the analysis
   for Fort Worth, where venue is only established by the residency of one
   of the six Plaintiffs. Since this matter could have been brought in the
   D.D.C., the Court must now determine whether private- and public-
   interest factors weigh in favor of transfer under § 1404(a). It is
   important to note that it is not enough for the alternate venue to be
   “more likely than not to be more convenient” but that the gain in
   convenience must be significant and plainly obvious enough that the
   marginal gains will actually materialize. Def. Distributed v. Bruck, 30
   F.4th 414, 433 (5th Cir. 2022); In re Clarke, 94 F.4th 502, 508 (5th Cir.
   2024).

      1. Private-Interest Factors

      The private-interest factors to be considered are: (1) ease of access to
   sources of proof; (2) availability of compulsory process for witnesses; (3)
   the cost of witness attendance; and (4) all other practical factors that
   might make a trial more expeditious and inexpensive. See Volkswagen,
   545 F.3d at 315.

      As to the first three factors, this case will chiefly focus on the
   Administrative Procedure Act (“APA”) and the Constitution, with little

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   to no actual physical records or evidence necessary for its resolution.
   While the Defendants argue that these factors weigh in favor of transfer
   since any documents or witnesses would be located in the District of
   Columbia, at this stage of litigation it is unclear whether there are
   actually witnesses or documents needed, and thus the first three factors
   are neutral with respect to transfer. No factor is “dispositive,” and the
   Fifth Circuit has warned against a “raw counting of the factors that
   weighs each the same.” In re TikTok, Inc., 85 F.4th 352, 358 (5th Cir.
   2023) (cleaned up).

      That said, the fourth factor weighs in favor of transfer. Defendants
   argue, particularly with respect to the lawyers in this case, that the
   D.D.C. is the more practical venue. ECF No. 53 at 13. The Court agrees.
   A review of the record shows there are ten attorneys spanning five
   different firms or organizations representing the various Parties in this
   case. Of the ten, eight list their offices in the District of Columbia. This
   means that any proceeding this Court conducts (such as a preliminary
   injunction hearing) will require all of Defendants’ counsel and two-
   thirds of Plaintiffs’ counsel to travel to Fort Worth—a task that will be
   charged to their clients or to the government. This would mean that
   taxpayers, including residents of Fort Worth, would foot an
   unnecessarily expensive bill for this litigation.
      While true that the Fifth Circuit has held that location of counsel
   cannot in itself be a factor in § 1404(a) analysis, the Court does not
   consider it as an independent factor. See In re Horseshoe Ent., 337 F.3d
   429, 434 (5th Cir. 2003). The fourth factor here is “all other practical
   factors that might make a trial more expeditious and inexpensive.” See
   Volkswagen, 545 F.3d at 315 (emphasis added). Substantive travel is
   certainly a practical factor that makes a trial more expensive, especially
   when a case has as many parties and attorneys as here. Further,
   especially when dealing with government defendants, taxpayers end up
   footing the bill for any excessive or unnecessary expenses. The Court
   recognizes that “[w]hen a defendant is haled into court, some
   inconvenience is expected and acceptable.” Def. Distributed, 30 F.4th at
   433. In fact, the very nature of having to defend a lawsuit at all is an
   inconvenience, but the Court has the discretion to weigh all practical

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   factors that make trial more expeditious and inexpensive. A holistic
   review of the practical factors surrounding the Parties and counsel in
   this case weighs in favor of transfer to the D.D.C. The Court does not
   share the concern that this argument will lead to all litigation
   concerning government defendants being litigated in D.D.C. As
   explained in its original transfer order (and reiterated below), this Court
   itself has handled a multitude of cases that involve federal government
   defendants. See ECF No. 67 at 6.

      The Court concludes that, because most of the private interest factors
   are neutral or weigh in favor of transfer, the private interest factors as
   a whole weigh in favor of transfer.

      2. Public-Interest Factors

      Next, the Court must consider whether public-interest factors weigh
   in favor of transfer. These public-interest factors include: (1) the
   administrative difficulties flowing from court congestion; (2) the local
   interest in having localized interests decided at home; (3) the familiarity
   of the forum with the law that will govern the case; and (4) the avoidance
   of unnecessary problems of conflict of laws or in the application of
   foreign law. See Volkswagen, 545 F.3d at 315. Of the private- and public-
   interest factors, the public factors move the needle most toward transfer.

      First, the Court recognizes that the D.D.C. has a busy docket.
   However, as discussed in the Court’s Order denying Plaintiffs’ Motion to
   Expedite, the Northern District of Texas has a significantly busier
   docket. See ECF No. 51 at 2. In 2023, each Judge in the Northern
   District of Texas saw an average of 287 more filings than each Judge in
   the D.D.C. Id. Indeed, the average D.D.C. Judge saw only 298 cases at
   all in 2023. Id. This suggests the D.D.C. would facilitate a more
   expeditious resolution of this time-sensitive matter. The data verify this,
   as cases are resolved faster in the D.D.C. than in the Northern District
   of Texas. The median time for disposition of a case in the D.D.C. is 5.1
   months; it is 6.5 months in the Northern District of Texas. See U.S. Dist.
   Cts., Median Time From Filing to Disposition of Civil Cases, by Action
   Taken (Dec. 31, 2023), https://www.uscourts.gov/statistics/table/c-
   5/statistical-tables-federal-judiciary/2023/12/31. Ordinarily, this factor


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   may have a minimal impact on transfer analysis, given the difference in
   times is not that far apart. However, given Plaintiffs’ insistence that
   time is of the essence in this case, this factor more heavily favors
   transfer as a difference in adjudication of five to six weeks could mean
   immeasurable, continued irreparable harm.

      Second, there is a strong interest in having this dispute resolved in
   the District of Columbia. The case chiefly involves out-of-state Plaintiffs
   challenging the actions of government officials taken in the District of
   Columbia. The fact that there are customers of businesses in the
   Northern District of Texas that will potentially feel the effects of the
   Rule does not create a particularized injury in the Northern District of
   Texas, nor does it represent a substantial part of the events giving rise
   to the claim. Under Plaintiffs’ theory, there isn’t a city in the country
   where venue would not lie, as every city has customers who may
   potentially be impacted by the Rule. Plaintiffs could find any Chamber
   of Commerce in any city of America and add them to this lawsuit in order
   to establish venue where they desire. It appears that this is exactly what
   Plaintiffs attempted to do by recommending transfer to the Eastern
   District of Texas, Tyler Division. See ECF No. 55 at 5. Here, once again,
   the only tie to the Eastern District of Texas, Tyler Division, was that one
   of the Plaintiffs happens to be there. None of the events occurred there
   and there is only a possibility that tangential harm could be felt by the
   Rule. While the Fifth Circuit has held that “the local-interest inquiry is
   concerned with the interest of non-party citizens in adjudicating the
   case,” the Court finds any argument on this point unpersuasive here.
   Clarke, 94 F.4th at 511. Sure, citizens of Fort Worth could be impacted
   by the Final Rule, but the interests of citizens of Fort Worth are no
   different than those of the citizens of Fort Wayne, Indiana or Lake
   Worth Beach, Florida. When looking to “localized interests” the Court
   does not see how Fort Worth citizens have any particularized, localized
   interest. D.C. has clear interests in determining the legality of rules
   promulgated there, but the Court cannot say the same here for the
   citizens of Fort Worth. This factor thus weighs in favor of transfer.

      Venue is not a continental breakfast; you cannot pick and choose on
   a Plaintiffs’ whim where and how a lawsuit is filed. Indeed, this is why

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    § 1391(e)(1)(B) has the “substantial” qualification as one of the factors
    in deciding venue. Federal courts have consistently cautioned against
    such behavior. See Volkswagen, 545 F.3d at 313 (“[W]hile a plaintiff has
    the privilege of filing his claims in any judicial division appropriate
    under the general venue statute, § 1404(a) tempers the effects of the
    exercise of this privilege.”); see also Moreno v. City of N. Y., No. 14-cv-
    6062(NG), 2015 WL 403246 at *2 (E.D.N.Y. Jan. 28, 2015) (Gershon, J.)
    (holding that a court’s discretion under 1404(a) is properly exercised to
    discourage judge shopping). 3 The Final Rule at issue in this case was
    promulgated in Washington D.C., by government agencies stationed in
    Washington D.C., and by employees who work in Washington D.C. Most
    of the Plaintiffs in this case are also based in Washington D.C. and
    eighty percent of the attorneys in this matter work in Washington D.C.
    Thus, the D.D.C. has a stronger interest in resolving this dispute, as it
    is the epicenter for these types of rules and challenges thereto. See
    Stewart v. Azar, 308 F. Supp. 3d 239, 289 (D.D.C. 2018) (Boasberg, J.)
    (“[the D.C. Circuit] has more experience with APA cases, which would
    weigh against transfer [out of the D.C. Circuit]”).

       Regarding the third and fourth factors, both the Northern District of
    Texas and the D.D.C. are familiar with the law that will be applied in
    this case. Further, despite the CFPB’s apparent concerns, the Northern
    District of Texas is equally apt in adjudicating APA matters. See, e.g.,
    Nuziard v. Minority Bus. Dev. Agency, No. 4:23-cv-00278-P, 2024 WL
    965299, at *41–44 (N.D. Tex. Mar. 5, 2024) (Pittman, J.); see also Texas
    v. Biden, 589 F. Supp. 3d 595 (N.D. Tex. 2022) (Pittman, J.). This should
    assuage Plaintiffs’ hyperbolic concerns that transferring this case would
    force all future APA claims to be brought in the D.D.C. See ECF No. 55
    at 14–17. Sure, the D.D.C. might see more than their fair share of APA
    claims as compared to other jurisdictions, just as the Southern District
    of Florida likely sees more maritime claims than the Northern District

       3The    Court in no way intends for this transfer analysis to serve as
    commentary on judge shopping or forum shopping. These concerns are
    irrelevant to this Court’s venue analysis. Neither the Fifth Circuit nor the
    Supreme Court have mentioned judge or forum shopping as a concern for
    district courts to analyze when determining correct venue, and the Court does
    not do so here.

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    of Ohio. That does not mean that the Northern District of Ohio lacks the
    ability to adjudicate such a claim, it just means that the Southern
    District of Florida might have more interest or geographic proximity to
    the locations of the relevant parties in handling such matters. Here too,
    the case belongs in the D.D.C.

       An easy way for Plaintiffs to guarantee proper venue is to bring cases
    in jurisdictions where the impact is uniquely and particularly felt, and
    where a substantial part of the events occurred. 28 U.S.C.A. § 1391(e)(1).
    Here, there is no unique or particular impact felt in the Northern
    District of Texas and little if any of the events surrounding the Final
    Rule have occurred here. In fact, as far as this Court can discern, not
    one of the member banks or credit card companies directly affected by
    the Final Rule is located in the Fort Worth Division.4 Importantly, while
    the third and fourth factors are neutral, they (like all other private- and
    public-interest factors) do not favor this case remaining in the Northern
    District of Texas.

                                   *      *      *

        Having considered the public- and private-interest factors, the Court
    concludes that the convenience of hosting the proceeding in the D.D.C.
    is significant and plainly obvious that the marginal gains will actually
    materialize, and thus this case should be TRANSFERRED to the
    United States District Court for the District of Columbia.

                                   CONCLUSION
       This case did not belong in the Northern District of Texas and
    certainly not in the Fort Worth Division on March 7, it did not when this
    Court transferred it on March 28, and it does not today—two months
    later. The only apparent connection is that one Plaintiff is
    headquartered in the Northern District and the effects of the Final Rule
    will be felt generally here. But the effects of the CFPB’s Final Rule will
    be felt in every district in the United States. Here, the Court will refrain

       4Fort Worth would undoubtedly welcome any of the member banks and

    credit card issuers to our fast-growing and vibrant city should they decide to
    relocate here. To get the process started, see City of Fort Worth, Business
    Services (last visited May 28, 2024), https://www.fortworthtexas.gov/business.

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    from taking part in “creative judging” and is compelled to follow the law
    laid out by Congress in 28 U.S.C. § 1404(a).5 If the venue statute means
    anything, they must surely mean plaintiffs have some connection to
    their chosen destination for filing a lawsuit. Thus, having considered the
    relevant private- and public-interest factors, the Court concludes that
    this case should be and is hereby TRANSFERRED to the United States
    District Court for the District of Columbia. As outlined in the Court’s
    preliminary injunction order discussing its docket management, the
    Court welcomes more guidance from the Fifth Circuit regarding the
    proper way to handle the transfer of cases that seemingly do not belong
    with this Court or have attenuated ties to this district or division.

       SO ORDERED on this 28th day of May 2024.



                            ______________________________________________
                            Mark T. Pittman
                            UNITED STATED DISTRICT JUDGE




       5One single object… [will merit] the endless gratitude of the society: that of

    restraining the judges from usurping legislation.” Letter from Thomas
    Jefferson to Edward Livingston (Mar. 25, 1825), in 16 THE WRITINGS OF
    THOMAS JEFFERSON 112, 113 (Andrew A. Lipscomb & Albert Ellery Bergh eds.,
    1904).

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